Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF KANSAS

Case number (if known)                                                        Chapter you are filing under:

                                                                                 Chapter 7
                                                                                 Chapter 11
                                                                                 Chapter 12
                                                                                 Chapter 13                                        Check if this an
                                                                                                                                   amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                               12/17
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     John
     your government-issued        First name                                                       First name
     picture identification (for
     example, your driver's        Frank
     license or passport).         Middle name                                                      Middle name
     Bring your picture
     identification to your
                                   Miramontes, III
     meeting with the trustee.     Last name and Suffix (Sr., Jr., II, III)                         Last name and Suffix (Sr., Jr., II, III)




2.   All other names you have
     used in the last 8 years
     Include your married or
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-5144
     Individual Taxpayer
     Identification number
     (ITIN)




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                                                     Petition for Individuals Filing for Bankruptcy                                                   page 1
Debtor 1   John Frank Miramontes, III                                                                Case number (if known)




                                 About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers (EIN) you have         I have not used any business name or EINs.                   I have not used any business name or EINs.
     used in the last 8 years

     Include trade names and     Business name(s)                                             Business name(s)
     doing business as names

                                 EINs                                                         EINs




5.   Where you live                                                                           If Debtor 2 lives at a different address:

                                 15011 W 142nd Street
                                 Olathe, KS 66062
                                 Number, Street, City, State & ZIP Code                       Number, Street, City, State & ZIP Code

                                 Johnson
                                 County                                                       County

                                 If your mailing address is different from the one            If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any    in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                      mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code             Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                   Check one:
     this district to file for
     bankruptcy                         Over the last 180 days before filing this petition,           Over the last 180 days before filing this petition, I
                                        I have lived in this district longer than in any              have lived in this district longer than in any other
                                        other district.                                               district.

                                        I have another reason.                                        I have another reason.
                                        Explain. (See 28 U.S.C. § 1408.)                              Explain. (See 28 U.S.C. § 1408.)




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Debtor 1    John Frank Miramontes, III                                                                    Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                 Chapter 7
                                     Chapter 11
                                     Chapter 12
                                     Chapter 13



8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                         applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                         the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for             No.
     bankruptcy within the
     last 8 years?                  Yes.
                                              District                                  When                            Case number
                                              District                                  When                            Case number
                                              District                                  When                            Case number



10. Are any bankruptcy              No
    cases pending or being
    filed by a spouse who is        Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known



11. Do you rent your                No.        Go to line 12.
    residence?
                                    Yes.       Has your landlord obtained an eviction judgment against you?
                                                         No. Go to line 12.
                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of
                                                         this bankruptcy petition.




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Debtor 1    John Frank Miramontes, III                                                                     Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time         No.      Go to Part 4.
    business?
                                      Yes.     Name and location of business
     A sole proprietorship is a
     business you operate as                   Name of business, if any
     an individual, and is not a
     separate legal entity such
     as a corporation,
     partnership, or LLC.
                                               Number, Street, City, State & ZIP Code
     If you have more than one
     sole proprietorship, use a
     separate sheet and attach
     it to this petition.                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the              deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code and are        operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
    you a small business           in 11 U.S.C. 1116(1)(B).
    debtor?
                                      No.      I am not filing under Chapter 11.
     For a definition of small
     business debtor, see 11
                                      No.      I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
     U.S.C. § 101(51D).
                                               Code.

                                      Yes.     I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any            No.
    property that poses or is
    alleged to pose a threat          Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                           Number, Street, City, State & Zip Code




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                                                     Petition for Individuals Filing for Bankruptcy                                                    page 4
Debtor 1    John Frank Miramontes, III                                                                 Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
     so, you are not eligible to         a certificate of completion.                                  of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                         I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                               Incapacity.                                                  Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                               Disability.                                                  Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                               reasonably tried to do so.                                   do so.

                                               Active duty.                                                 Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




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Debtor 1    John Frank Miramontes, III                                                                    Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do        16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                              individual primarily for a personal, family, or household purpose.”
                                               No. Go to line 16b.

                                               Yes. Go to line 17.
                                 16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                               No. Go to line 16c.
                                               Yes. Go to line 17.
                                 16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under            No.    I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that           Yes.   I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
     after any exempt                      are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses                   No
     are paid that funds will
     be available for                          Yes
     distribution to unsecured
     creditors?

18. How many Creditors do           1-49                                             1,000-5,000                                   25,001-50,000
    you estimate that you                                                            5001-10,000                                   50,001-100,000
    owe?                            50-99
                                    100-199                                          10,001-25,000                                 More than100,000
                                    200-999

19. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your assets to                                                          $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    be worth?                       $50,001 - $100,000
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


20. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your liabilities                                                        $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    to be?                          $50,001 - $100,000
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


Part 7:    Sign Below

For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.
                                 /s/ John Frank Miramontes, III
                                 John Frank Miramontes, III                                        Signature of Debtor 2
                                 Signature of Debtor 1

                                 Executed on     August 7, 2019                                    Executed on
                                                 MM / DD / YYYY                                                    MM / DD / YYYY




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                                                   Petition for Individuals Filing for Bankruptcy                                                           page 6
Debtor 1   John Frank Miramontes, III                                                                     Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need    schedules filed with the petition is incorrect.
to file this page.
                                /s/ Tracy L. Robinson                                              Date         August 7, 2019
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                Tracy L. Robinson
                                Printed name

                                The Law Offices of Tracy L. Robinson, LC
                                Firm name

                                818 Grand Blvd., Suite 505
                                Kansas City, MO 64106
                                Number, Street, City, State & ZIP Code

                                Contact phone     816.842.1317                               Email address         admin@tlrlaw.com
                                14423 KS
                                Bar number & State




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                                                   Petition for Individuals Filing for Bankruptcy                                                        page 7
 Fill in this information to identify your case and this filing:

 Debtor 1                   John Frank Miramontes, III
                            First Name                      Middle Name                       Last Name

 Debtor 2
 (Spouse, if filing)        First Name                      Middle Name                       Last Name


 United States Bankruptcy Court for the:            DISTRICT OF KANSAS

 Case number                                                                                                                                                Check if this is an
                                                                                                                                                            amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                     12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.
        Yes. Where is the property?



 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1      Make:       Dodge                                   Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
           Model:      Caravan                                       Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
           Year:       2007                                          Debtor 2 only                                            Current value of the      Current value of the
           Approximate mileage:            187,000+                  Debtor 1 and Debtor 2 only                               entire property?          portion you own?
           Other information:                                        At least one of the debtors and another
          Poor Condition
                                                                     Check if this is community property                                  $800.00                    $800.00
                                                                     (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes



 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                      $800.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                     portion you own?
                                                                                                                                                     Do not deduct secured
                                                                                                                                                     claims or exemptions.


Official Form 106A/B                                                         Schedule A/B: Property                                                                       page 1
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 Debtor 1       John Frank Miramontes, III                                                          Case number (if known)

6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
        Yes. Describe.....

                                    Debtor lives in his son's house. Therefore, he has verly little household
                                    goods, furnishings, wall hangings, knick knacks, etc.                                                          $500.00


                                    Recliner                                                                                                       $200.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
        Yes. Describe.....

                                    1 television, smart phone, laptop, printer, tablet, etc.                                                       $400.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
        No
        Yes. Describe.....

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
        No
        Yes. Describe.....

10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
        No
        Yes. Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
        Yes. Describe.....

                                    Wearing apparel, clothing and shoes.                                                                           $100.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
        Yes. Describe.....

                                    Misc. jewelry                                                                                                  $100.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
        No
        Yes. Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
        No
        Yes. Give specific information.....



Official Form 106A/B                                                 Schedule A/B: Property                                                            page 2
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 Debtor 1         John Frank Miramontes, III                                                                                        Case number (if known)


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                                                $1,300.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                                 Current value of the
                                                                                                                                                             portion you own?
                                                                                                                                                             Do not deduct secured
                                                                                                                                                             claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
     No
        Yes................................................................................................................

                                                                                                                                       Cash on hand                           $20.00


17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:


                                              17.1.       Checking                                Commerce Bank                                                             $672.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
        No
        Yes..................                           Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
        No
        Yes. Give specific information about them...................
                                   Name of entity:                                                                                   % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
        No
        Yes. Give specific information about them
                                    Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
        No
        Yes. List each account separately.
                                Type of account:                                                  Institution name:

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
        No
        Yes. .....................                                                                Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
        No
        Yes.............              Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
        No
Official Form 106A/B                                                                       Schedule A/B: Property                                                               page 3
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 Debtor 1        John Frank Miramontes, III                                                              Case number (if known)

        Yes.............        Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
        No
        Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
        No
        Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
        No
        Yes. Give specific information about them...

 Money or property owed to you?                                                                                                      Current value of the
                                                                                                                                     portion you own?
                                                                                                                                     Do not deduct secured
                                                                                                                                     claims or exemptions.

28. Tax refunds owed to you
        No
        Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
        No
        Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
        No
        Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
      No
        Yes. Name the insurance company of each policy and list its value.
                                 Company name:                                                  Beneficiary:                          Surrender or refund
                                                                                                                                      value:

                                         Term life insurance through North America
                                         Life                                                                                                           $0.00


32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
        No
        Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
        No
        Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
        Yes. Describe each claim.........


Official Form 106A/B                                                 Schedule A/B: Property                                                             page 4
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 Debtor 1         John Frank Miramontes, III                                                                                            Case number (if known)

35. Any financial assets you did not already list
        No
        Yes. Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................            $692.00


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.
       Yes. Go to line 38.



 Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes. Go to line 47.


 Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
        No
        Yes. Give specific information.........


 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                  $0.00

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................                  $0.00
 56. Part 2: Total vehicles, line 5                                                                              $800.00
 57. Part 3: Total personal and household items, line 15                                                        $1,300.00
 58. Part 4: Total financial assets, line 36                                                                     $692.00
 59. Part 5: Total business-related property, line 45                                                               $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                      $0.00
 61. Part 7: Total other property not listed, line 54                                             +                 $0.00

 62. Total personal property. Add lines 56 through 61...                                                        $2,792.00             Copy personal property total        $2,792.00

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                    $2,792.00




Official Form 106A/B                                                               Schedule A/B: Property                                                                       page 5
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                                             Case 19-21664                        Doc# 1               Filed 08/07/19                     Page 12 of 92
 Fill in this information to identify your case:

 Debtor 1                 John Frank Miramontes, III
                          First Name                        Middle Name                 Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name                 Last Name


 United States Bankruptcy Court for the:              DISTRICT OF KANSAS

 Case number
 (if known)                                                                                                                               Check if this is an
                                                                                                                                          amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                    4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

      2007 Dodge Caravan 187,000+ miles                                    $800.00                               $3,000.00     RSMo § 513.430.1(5)
      Poor Condition
      Line from Schedule A/B: 3.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

      Debtor lives in his son's house.                                     $500.00                                 $500.00     RSMo § 513.430.1(1)
      Therefore, he has verly little household
      goods, furnishings, wall hangings, knick                                             100% of fair market value, up to
      knacks, etc.                                                                         any applicable statutory limit
      Line from Schedule A/B: 6.1

      Recliner                                                             $200.00                                 $200.00     RSMo § 513.430.1(1)
      Line from Schedule A/B: 6.2
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      1 television, smart phone, laptop,                                   $400.00                                 $400.00     RSMo § 513.430.1(1)
      printer, tablet, etc.
      Line from Schedule A/B: 7.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

      Wearing apparel, clothing and shoes.                                 $100.00                                 $100.00     RSMo § 513.430.1(1)
      Line from Schedule A/B: 11.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit



Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 1 of 2
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 Debtor 1    John Frank Miramontes, III                                                                  Case number (if known)

     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Misc. jewelry                                                       $100.00                                   $100.00        RSMo § 513.430.1(2)
     Line from Schedule A/B: 12.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Cash on hand                                                         $20.00                                    $20.00        RSMo § 513.430.1(3)
     Line from Schedule A/B: 16.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Checking: Commerce Bank                                             $672.00                                   $580.00        RSMo § 513.430.1(3)
     Line from Schedule A/B: 17.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Term life insurance through North                                      $0.00                                                 RSMo § 513.430.1(7)
     America Life
     Line from Schedule A/B: 31.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $170,350?
    (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
            No
            Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 2
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                                       Case 19-21664                   Doc# 1         Filed 08/07/19            Page 14 of 92
 Fill in this information to identify your case:

 Debtor 1                   John Frank Miramontes, III
                            First Name                      Middle Name                       Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                       Last Name


 United States Bankruptcy Court for the:              DISTRICT OF KANSAS

 Case number
 (if known)                                                                                                                                              Check if this is an
                                                                                                                                                         amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                              Column A                Column B                    Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As     Amount of claim         Value of collateral         Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                    Do not deduct the       that supports this          portion
                                                                                                              value of collateral.    claim                       If any
 2.1     Nebraska Furniture Mart                  Describe the property that secures the claim:                        $235.00                    $200.00                 $35.00
         Creditor's Name                          Recliner

         Attn: Bankruptcy
                                                  As of the date you file, the claim is: Check all that
         PO Box 3000                              apply.
         Omaha, NE 68103-3030                         Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)

       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)
       community debt

 Date debt was incurred                                    Last 4 digits of account number



   Add the dollar value of your entries in Column A on this page. Write that number here:                                       $235.00
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                                      $235.00

 Part 2:       List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.

          Name, Number, Street, City, State & Zip Code                                             On which line in Part 1 did you enter the creditor?   2.1
          Nebraska Furniture Mart
          700 S 72nd Street                                                                        Last 4 digits of account number
          Omaha, NE 68114

          Name, Number, Street, City, State & Zip Code                                             On which line in Part 1 did you enter the creditor?   2.1
          Nebraska Furniture Mart
          PO Box 3456                                                                              Last 4 digits of account number
          Omaha, NE 68103

Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                             page 1 of 2
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                                          Case 19-21664                   Doc# 1            Filed 08/07/19            Page 15 of 92
 Debtor 1 John Frank Miramontes, III                                                      Case number (if known)
              First Name                Middle Name                  Last Name




Official Form 106D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property          page 2 of 2
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                                       Case 19-21664                 Doc# 1      Filed 08/07/19      Page 16 of 92
 Fill in this information to identify your case:

 Debtor 1                     John Frank Miramontes, III
                              First Name                    Middle Name                        Last Name

 Debtor 2
 (Spouse if, filing)          First Name                    Middle Name                        Last Name


 United States Bankruptcy Court for the:                DISTRICT OF KANSAS

 Case number
 (if known)                                                                                                                                               Check if this is an
                                                                                                                                                          amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                     12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
           No. Go to Part 2.

           Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
       Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                        Total claim          Priority               Nonpriority
                                                                                                                                             amount                 amount
 2.1          Internal Revenue Service                               Last 4 digits of account number                          $1,700.00             $1,700.00                    $0.00
              Priority Creditor's Name
              Centralized Insolvency Operation                       When was the debt incurred?           2018
              PO Box 7346
              Philadelphia, PA 19101-7346
              Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
              Debtor 1 only                                             Unliquidated
              Debtor 2 only                                             Disputed
              Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:

              At least one of the debtors and another                   Domestic support obligations

              Check if this claim is for a community debt               Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
              No                                                        Other. Specify
              Yes                                                                        Personal income taxes


 Part 2:        List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

           No. You have nothing to report in this part. Submit this form to the court with your other schedules.

           Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                  Page 1 of 30
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                                           Case 19-21664                  Doc# 1           Filed 08/07/19                 Page 17 of 92
 Debtor 1 John Frank Miramontes, III                                                                     Case number (if known)

 4.1      American Express                                           Last 4 digits of account number       1000                                             $1,238.25
          Nonpriority Creditor's Name
          Customer Service/Bankruptcy Dept.                          When was the debt incurred?
          PO Box 981535
          El Paso, TX 79998-1535
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.2      American Express                                           Last 4 digits of account number       1005                                             $2,070.90
          Nonpriority Creditor's Name
          Customer Service/Bankruptcy Dept.                          When was the debt incurred?
          PO Box 981535
          El Paso, TX 79998-1535
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.3      American Express                                           Last 4 digits of account number       1001                                             $1,080.61
          Nonpriority Creditor's Name
          Customer Service/Bankruptcy Dept.                          When was the debt incurred?
          PO Box 981535
          El Paso, TX 79998-1535
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 2 of 30
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 Debtor 1 John Frank Miramontes, III                                                                     Case number (if known)

 4.4      Anesthesia Assoc of KC PC                                  Last 4 digits of account number       6774                                                 $61.60
          Nonpriority Creditor's Name
          PO Box 801185                                              When was the debt incurred?
          Kansas City, MO 64180
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.5      Anesthesia Assoc of KC PC                                  Last 4 digits of account number       6774                                               $542.70
          Nonpriority Creditor's Name
          PO Box 801185                                              When was the debt incurred?
          Kansas City, MO 64180
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.6      Anesthesia Assoc of KC PC                                  Last 4 digits of account number       6774                                             $1,238.20
          Nonpriority Creditor's Name
          PO Box 801185                                              When was the debt incurred?
          Kansas City, MO 64180
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 3 of 30
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 Debtor 1 John Frank Miramontes, III                                                                     Case number (if known)

 4.7      Anesthesia Assoc of KC PC                                  Last 4 digits of account number       6774                                               $770.50
          Nonpriority Creditor's Name
          PO Box 801185                                              When was the debt incurred?
          Kansas City, MO 64180
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.8      Anesthesia Assoc of KC PC                                  Last 4 digits of account number       6774                                               $952.00
          Nonpriority Creditor's Name
          PO Box 801185                                              When was the debt incurred?
          Kansas City, MO 64180
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.9      Anesthesia Assoc of KC PC                                  Last 4 digits of account number                                                          $695.50
          Nonpriority Creditor's Name
          PO Box 801185                                              When was the debt incurred?
          Kansas City, MO 64180
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 4 of 30
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 Debtor 1 John Frank Miramontes, III                                                                     Case number (if known)

 4.1
 0        Anesthesia Assoc of KC PC                                  Last 4 digits of account number                                                          $301.00
          Nonpriority Creditor's Name
          PO Box 801185                                              When was the debt incurred?
          Kansas City, MO 64180
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.1
 1        Anesthesia Assoc of KC PC                                  Last 4 digits of account number                                                          $394.00
          Nonpriority Creditor's Name
          PO Box 801185                                              When was the debt incurred?
          Kansas City, MO 64180
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.1
 2        Austin Farms Sodding, Inc                                  Last 4 digits of account number       7205                                                 $80.00
          Nonpriority Creditor's Name
          1120 SE Century Drive                                      When was the debt incurred?
          Lees Summit, MO 64081
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify




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 Debtor 1 John Frank Miramontes, III                                                                     Case number (if known)

 4.1
 3        Bank of America                                            Last 4 digits of account number       3070                                             $6,509.38
          Nonpriority Creditor's Name
          PO Box 982234                                              When was the debt incurred?
          El Paso, TX 79998-2234
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   19LA04207


 4.1
 4        Barclays Bank of Delaware                                  Last 4 digits of account number                                                        $1,839.00
          Nonpriority Creditor's Name
          Bankruptcy Department                                      When was the debt incurred?
          125 South West Street
          Wilmington, DE 19801
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.1
 5        Capital One                                                Last 4 digits of account number       4630                                             $2,658.55
          Nonpriority Creditor's Name
          Inquiries/Bankruptcy Department                            When was the debt incurred?
          PO Box 30285
          Salt Lake City, UT 84130-0285
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify




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 Debtor 1 John Frank Miramontes, III                                                                     Case number (if known)

 4.1
 6        Centerpoint Medical Center                                 Last 4 digits of account number       9438                                                 $41.81
          Nonpriority Creditor's Name
          Patient Accounting                                         When was the debt incurred?
          19600 E 39th Street South
          Independence, MO 64057
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.1
 7        Centerpoint Physicians Group                               Last 4 digits of account number       3777                                               $136.55
          Nonpriority Creditor's Name
          PO Box 740776                                              When was the debt incurred?
          Cincinnati, OH 45274-0776
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.1
 8        College Park Family Care Center                            Last 4 digits of account number       8557                                               $268.10
          Nonpriority Creditor's Name
          PO Box 741331                                              When was the debt incurred?
          Atlanta, GA 30374-1331
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify




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 Debtor 1 John Frank Miramontes, III                                                                     Case number (if known)

 4.1
 9        Discover Cards                                             Last 4 digits of account number       8482                                             $5,978.04
          Nonpriority Creditor's Name
          Inquiries/Bankruptcy Department                            When was the debt incurred?
          PO Box 30943
          Salt Lake City, UT 84130
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.2
 0        Jefferson Capital Systems LLC                              Last 4 digits of account number                                                        $2,490.32
          Nonpriority Creditor's Name
          16 McLeland Road                                           When was the debt incurred?
          Saint Cloud, MN 56303-2049
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.2
 1        Kansas City Power & Light                                  Last 4 digits of account number       0970                                                 $77.00
          Nonpriority Creditor's Name
          Collection Department                                      When was the debt incurred?
          1201 Walnut
          PO Box 418679
          Kansas City, MO 64141-8679
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify




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 Debtor 1 John Frank Miramontes, III                                                                     Case number (if known)

 4.2
 2        Lab Corp of America Holdings                               Last 4 digits of account number       9954                                                 $64.27
          Nonpriority Creditor's Name
          PO Box 2240                                                When was the debt incurred?
          Burlington, NC 27216-2240
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.2
 3        Lab Corp of America Holdings                               Last 4 digits of account number                                                         Unknown
          Nonpriority Creditor's Name
          PO Box 2240                                                When was the debt incurred?
          Burlington, NC 27216-2240
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.2
 4        Medica                                                     Last 4 digits of account number       6017                                                 $96.21
          Nonpriority Creditor's Name
          PO Box 9310                                                When was the debt incurred?
          Minneapolis, MN 55440-9310
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify




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 Debtor 1 John Frank Miramontes, III                                                                     Case number (if known)

 4.2
 5        Midland Funding, LLC                                       Last 4 digits of account number       4225                                             $3,199.82
          Nonpriority Creditor's Name
          2365 Northside Drive                                       When was the debt incurred?
          Suite 300
          San Diego, CA 92108
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.2
 6        Midland Funding, LLC                                       Last 4 digits of account number       8547                                             $5,436.72
          Nonpriority Creditor's Name
          2365 Northside Drive                                       When was the debt incurred?
          Suite 300
          San Diego, CA 92108
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.2
 7        Midwest Heart & Vascular Specialists                       Last 4 digits of account number       3777                                                 $20.94
          Nonpriority Creditor's Name
          PO Box 740776                                              When was the debt incurred?
          Cincinnati, OH 45274-0776
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify




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 Debtor 1 John Frank Miramontes, III                                                                     Case number (if known)

 4.2
 8        Midwest Heart & Vascular Specialists                       Last 4 digits of account number       3777                                               $115.94
          Nonpriority Creditor's Name
          PO Box 740776                                              When was the debt incurred?
          Cincinnati, OH 45274-0776
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify



 4.2      Namco USA LTD dba Courtyard
 9        Apartments                                                 Last 4 digits of account number       8149                                                 $42.54
          Nonpriority Creditor's Name
          6720 W 76th Street                                         When was the debt incurred?
          Overland Park, KS 66204-3041
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.3
 0        Overland Park Regional Med Center                          Last 4 digits of account number       1051                                               $669.55
          Nonpriority Creditor's Name
          PO Box 740760                                              When was the debt incurred?
          Cincinnati, OH 45274-0760
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify




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 Debtor 1 John Frank Miramontes, III                                                                     Case number (if known)

 4.3
 1        Portfolio Recovery Associates                              Last 4 digits of account number                                                        $2,318.50
          Nonpriority Creditor's Name
          120 Corporate Boulevard                                    When was the debt incurred?
          Suite 100
          Norfolk, VA 23502
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.3
 2        Portfolio Recovery Associates                              Last 4 digits of account number       3706                                             $2,404.81
          Nonpriority Creditor's Name
          PO Box 12914                                               When was the debt incurred?
          Norfolk, VA 23541
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.3
 3        Prime Healthcare Kansas City                               Last 4 digits of account number       2392                                               $205.00
          Nonpriority Creditor's Name
          Physician Services                                         When was the debt incurred?
          PO Box 872332
          Kansas City, MO 64187-2332
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify




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 Debtor 1 John Frank Miramontes, III                                                                     Case number (if known)

 4.3
 4        Research Medical Center                                    Last 4 digits of account number       6123                                             $6,069.88
          Nonpriority Creditor's Name
          PO Box 740760                                              When was the debt incurred?
          Cincinnati, OH 45274-0760
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.3
 5        Research Neuroscience Institute LLC                        Last 4 digits of account number       3777                                               $177.58
          Nonpriority Creditor's Name
          PO Box 740776                                              When was the debt incurred?
          Cincinnati, OH 45274-0776
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.3
 6        Research Neuroscience Institute LLC                        Last 4 digits of account number       3777                                                 $70.00
          Nonpriority Creditor's Name
          PO Box 740776                                              When was the debt incurred?
          Cincinnati, OH 45274-0776
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify




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 Debtor 1 John Frank Miramontes, III                                                                     Case number (if known)

 4.3
 7        Saint Luke's Health System                                 Last 4 digits of account number       6661                                                 $64.00
          Nonpriority Creditor's Name
          PO Box 505327                                              When was the debt incurred?
          Saint Louis, MO 63150-5327
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.3
 8        Saint Luke's Physicians Group                              Last 4 digits of account number                                                          $127.95
          Nonpriority Creditor's Name
          PO Box 505291                                              When was the debt incurred?
          Saint Louis, MO 63150-5291
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.3
 9        Saint Luke's Physicians Group                              Last 4 digits of account number       5533                                                 $67.95
          Nonpriority Creditor's Name
          PO Box 505291                                              When was the debt incurred?
          Saint Louis, MO 63150-5291
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify




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 Debtor 1 John Frank Miramontes, III                                                                     Case number (if known)

 4.4
 0        Sci-Tech Automotive                                        Last 4 digits of account number       3351                                             $1,343.04
          Nonpriority Creditor's Name
          9955 E 350 Highway                                         When was the debt incurred?
          Kansas City, MO 64133-6580
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.4
 1        Surgicenter of Johnson County                              Last 4 digits of account number       9043                                               $113.39
          Nonpriority Creditor's Name
          8800 Ballentine                                            When was the debt incurred?
          Overland Park, KS 66214
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
                                                                        Student loans
              Check if this claim is for a community
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.4
 2        Synchrony Bank/Drive Savvy                                 Last 4 digits of account number       7248                                             $3,174.35
          Nonpriority Creditor's Name
          Attn: Bankruptcy Department                                When was the debt incurred?
          PO Box 965060
          Orlando, FL 32896-5060
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify




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 Debtor 1 John Frank Miramontes, III                                                                     Case number (if known)

 4.4
 3        Synchrony Bank/Lowe's                                      Last 4 digits of account number       2780                                             $1,395.10
          Nonpriority Creditor's Name
          Attn: Bankruptcy Department                                When was the debt incurred?
          PO Box 965060
          Orlando, FL 32896-5060
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.4
 4        Synchrony Bank/Phillips 66                                 Last 4 digits of account number                                                        $3,212.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy Department                                When was the debt incurred?
          PO Box 965060
          Orlando, FL 32896-5060
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.4
 5        Target National Bank                                       Last 4 digits of account number       6214                                             $3,549.95
          Nonpriority Creditor's Name
          Target Credit Services                                     When was the debt incurred?
          MS IC-F
          PO Box 673
          Minneapolis, MN 55440-0673
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify




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 Debtor 1 John Frank Miramontes, III                                                                     Case number (if known)

 4.4
 6        U-Haul Moving & Storage of Lenexa                          Last 4 digits of account number                                                         Unknown
          Nonpriority Creditor's Name
          9250 Marshall Drive                                        When was the debt incurred?
          Lenexa, KS 66215
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.4
 7        Universal Premium                                          Last 4 digits of account number       N7UE                                             $1,020.10
          Nonpriority Creditor's Name
          PO Box 923928                                              When was the debt incurred?
          Norcross, GA 30010
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.4
 8        USAA Federal Savings Bank                                  Last 4 digits of account number       0962                                             $2,356.28
          Nonpriority Creditor's Name
          10750 McDermott Freeway                                    When was the debt incurred?
          San Antonio, TX 78288
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify




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 Debtor 1 John Frank Miramontes, III                                                                     Case number (if known)

 4.4
 9         USAA Federal Savings Bank                                 Last 4 digits of account number       3540                                                     $2,356.00
           Nonpriority Creditor's Name
           10750 McDermott Freeway                                   When was the debt incurred?
           San Antonio, TX 78288
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Alltran Financial, LP                                         Line 4.49 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 722929                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Houston, TX 77272-2929
                                                               Last 4 digits of account number                  3891

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 American Coradius                                             Line 4.48 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 2420 Sweet Home Road-Suite 150                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Amherst, NY 14228-2244
                                                               Last 4 digits of account number                  2591

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 American Express                                              Line 4.1 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 PO Box 981537                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 El Paso, TX 79998
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 American Express                                              Line 4.2 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 PO Box 981537                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 El Paso, TX 79998
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 American Express                                              Line 4.3 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 PO Box 981537                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 El Paso, TX 79998
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Anesthesia Assoc of KC PC                                     Line 4.4 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 8717 W 110th Street                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 600
 Overland Park, KS 66210-2126
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Anesthesia Assoc of KC PC                                     Line 4.5 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 8717 W 110th Street                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 600
 Overland Park, KS 66210-2126
                                                               Last 4 digits of account number


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 Debtor 1 John Frank Miramontes, III                                                                     Case number (if known)

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Anesthesia Assoc of KC PC                                     Line 4.6 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 8717 W 110th Street                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 600
 Overland Park, KS 66210-2126
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Anesthesia Assoc of KC PC                                     Line 4.7 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 8717 W 110th Street                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 600
 Overland Park, KS 66210-2126
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Anesthesia Assoc of KC PC                                     Line 4.8 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 8717 W 110th Street                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 600
 Overland Park, KS 66210-2126
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Anesthesia Assoc of KC PC                                     Line 4.9 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 8717 W 110th Street                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 600
 Overland Park, KS 66210-2126
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Anesthesia Assoc of KC PC                                     Line 4.10 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 8717 W 110th Street                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 600
 Overland Park, KS 66210-2126
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Anesthesia Assoc of KC PC                                     Line 4.11 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 8717 W 110th Street                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 600
 Overland Park, KS 66210-2126
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Atlantic Credit & Finance, Inc                                Line 4.26 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 2727 Franklin Road                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
 Roanoke, VA 24014
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Atlantic Credit and Finance Inc                               Line 4.26 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 13386                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Roanoke, VA 24033
                                                               Last 4 digits of account number                  8353

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Bank of America                                               Line 4.13 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 982235                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 El Paso, TX 79998-2235
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Bank of America                                               Line 4.13 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 4060 Ogletown/Stanton Road                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 DE5-019-03-07
 Newark, DE 19713
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Bank of America                                               Line 4.13 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims

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 PO Box 982238                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 El Paso, TX 79998-2238
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Bank of America                                               Line 4.13 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 982236                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 El Paso, TX 79998-2236
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Bank of America - Bankruptcy                                  Line 4.13 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 NC4-105-03-14                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 4161 Piedmont Parkway
 Greensboro, NC 27420
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Barclays Bank of Delaware                                     Line 4.14 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 8802                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Wilmington, DE 19899-8802
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Barclays Bank of Delaware                                     Line 4.14 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 8803                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Wilmington, DE 19899-8803
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Barclays Bank of Delaware                                     Line 4.20 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Bankruptcy Department                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
 125 South West Street
 Wilmington, DE 19801
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Barclays Bank of Delaware                                     Line 4.20 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 8802                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Wilmington, DE 19899-8802
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Berlin-Wheeler Inc                                            Line 4.5 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 2942 SW Wanamaker Drive                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 200
 Topeka, KS 66614
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Berlin-Wheeler Inc                                            Line 4.6 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 2942 SW Wanamaker Drive                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 200
 Topeka, KS 66614
                                                               Last 4 digits of account number                  1621

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Berlin-Wheeler Inc                                            Line 4.9 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 2942 SW Wanamaker Drive                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 200
 Topeka, KS 66614
                                                               Last 4 digits of account number                  0173

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Berlin-Wheeler Inc                                            Line 4.10 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 2942 SW Wanamaker Drive                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 200
 Topeka, KS 66614
                                                               Last 4 digits of account number


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 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Berlin-Wheeler Inc                                            Line 4.11 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 2942 SW Wanamaker Drive                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 200
 Topeka, KS 66614
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Berlin-Wheeler Inc.                                           Line 4.5 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 PO Box 479                                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Topeka, KS 66601-0479
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Berlin-Wheeler Inc.                                           Line 4.6 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 PO Box 479                                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Topeka, KS 66601-0479
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Berlin-Wheeler Inc.                                           Line 4.9 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 PO Box 479                                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Topeka, KS 66601-0479
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Berlin-Wheeler Inc.                                           Line 4.10 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 479                                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Topeka, KS 66601-0479
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Berlin-Wheeler Inc.                                           Line 4.11 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 479                                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Topeka, KS 66601-0479
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Blitt & Gaines PC                                             Line 4.13 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 707 North Second Street                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 306
 Saint Louis, MO 63102
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Blitt & Gaines PC                                             Line 4.13 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 661 Glenn Avenue                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 Wheeling, IL 60090
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Blitt & Gaines PC                                             Line 4.15 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 661 Glenn Avenue                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 Wheeling, IL 60090
                                                               Last 4 digits of account number                  2481

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Blitt & Gaines PC                                             Line 4.15 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 707 North Second Street                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 306
 Saint Louis, MO 63102
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Blitt and Gaines, PC                                          Line 4.13 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 6804 W 107th Street                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 150
 Overland Park, KS 66212
                                                               Last 4 digits of account number


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 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Capital One                                                   Line 4.15 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 30281                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Salt Lake City, UT 84130
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Capital One Bank USA NA                                       Line 4.15 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 10700 Capital One Way                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
 Richmond, VA 23060
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Centerpoint Medical Center                                    Line 4.16 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 740760                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Cincinnati, OH 45274-0760
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Client Services, Inc.                                         Line 4.49 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 3451 Harry S Truman Boulevard                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Saint Charles, MO 63301-4047
                                                               Last 4 digits of account number                  2843

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Client Services, Inc.                                         Line 4.32 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 3451 Harry S Truman Boulevard                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Saint Charles, MO 63301-4047
                                                               Last 4 digits of account number                  5187

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 College Park Family Care Center                               Line 4.18 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 11725 W 112th Street                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 102
 Overland Park, KS 66210
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 D & A Services                                                Line 4.13 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 1400 e Touhy Avenue                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 Suite G2
 Des Plaines, IL 60018
                                                               Last 4 digits of account number                  9475

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Discover Card                                                 Line 4.19 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 15316                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Wilmington, DE 19850-5316
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Financial Recovery Services Inc                               Line 4.19 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 385908                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Minneapolis, MN 55438-5908
                                                               Last 4 digits of account number                  Y992

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Financial Recovery Services Inc                               Line 4.45 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 385908                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Minneapolis, MN 55438-5908
                                                               Last 4 digits of account number                  S221

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Firstsource Advantage, LLC                                    Line 4.3 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 205 Bryant Woods South                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
 Amherst, NY 14228
                                                               Last 4 digits of account number                  3494


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 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Hunter Warfield, Inc.                                         Line 4.47 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 4620 Woodland Corporate Blvd                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Tampa, FL 33614-2415
                                                               Last 4 digits of account number                    3278

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Kansas City Power & Light                                     Line 4.21 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 219330                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Kansas City, MO 64121-9330
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Mandarich Law Group, LLP                                      Line 4.20 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 109032                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Chicago, IL 60610
                                                               Last 4 digits of account number                    2226

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Medica                                                        Line 4.24 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 856523                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Minneapolis, MN 55485-6523
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Medicredit, Inc                                               Line 4.34 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 1629                                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
 Maryland Heights, MO 63043-0629
                                                               Last 4 digits of account number                    4307

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Mercury Card/First Bank and Trust/SD                          Line 4.20 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 700 22nd Avenue South                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 Brookings, SD 57006
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Mercury Card/First Bank and Trust/SD                          Line 4.20 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 2220 6th Street                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Brookings, SD 57006
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Midland Credit Management Inc                                 Line 4.25 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 13105                                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Roanoke, VA 24031-3105
                                                               Last 4 digits of account number                    4225

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Midland Credit Management Inc                                 Line 4.26 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 13105                                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Roanoke, VA 24031-3105
                                                               Last 4 digits of account number                    8547

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Midland Credit Management, Inc.                               Line 4.25 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 350 Camino De La Reina                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 100
 San Diego, CA 92108
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Midland Credit Management, Inc.                               Line 4.26 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 350 Camino De La Reina                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 100
 San Diego, CA 92108
                                                               Last 4 digits of account number                    8547

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?

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 Midland Funding, LLC                                          Line 4.25 of (Check one):                  Part 1: Creditors with Priority Unsecured Claims
 320 East Big Beaver                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 Troy, MI 48083
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Midland Funding, LLC                                          Line 4.26 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 320 East Big Beaver                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 Troy, MI 48083
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Midwest Heart & Vascular Specialists                          Line 4.27 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 2330 E Meyer Blvd                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 509
 Kansas City, MO 64132
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Midwest Heart & Vascular Specialists                          Line 4.28 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 2330 E Meyer Blvd                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 509
 Kansas City, MO 64132
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Monarch Recovery Holdings                                     Line 4.43 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 3260 Tillman Drive                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 75
 Bensalem, PA 19020-2059
                                                               Last 4 digits of account number                  0656

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Monarch Recovery Holdings                                     Line 4.43 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 986                                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Bensalem, PA 19020
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Nationwide Credit, Inc                                        Line 4.1 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 PO Box 14581                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Des Moines, IA 50306-3581
                                                               Last 4 digits of account number                  3281

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Nationwide Credit, Inc                                        Line 4.2 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 PO Box 14581                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Des Moines, IA 50306-3581
                                                               Last 4 digits of account number                  6863

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Northstar Location Services, LLC                              Line 4.19 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Attn: Financial Services Department                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 4285 Genesee Street
 Cheektowaga, NY 14225-1943
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 NPAS Solutions, LLC                                           Line 4.16 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 2248                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Maryland Heights, MO 63043-1048
                                                               Last 4 digits of account number                  7437

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 NPAS Solutions, LLC                                           Line 4.34 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 2248                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Maryland Heights, MO 63043-1048
                                                               Last 4 digits of account number



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 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 NPAS Solutions, LLC                                           Line 4.30 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 2248                                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
 Maryland Heights, MO 63043-1048
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Overland Park Regional Med Ctr                                Line 4.30 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 10500 Quivira Road                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 Lenexa, KS 66215
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Portfolio Recovery Associates                                 Line 4.31 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 12914                                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Norfolk, VA 23541
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Portfolio Recovery Associates                                 Line 4.32 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 120 Corporate Boulevard                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
 Norfolk, VA 23502
                                                               Last 4 digits of account number                    3706

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Radius Global Solutions, LLC                                  Line 4.22 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 7831 Glenroy Road                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 SUite 250
 Minneapolis, MN 55439
                                                               Last 4 digits of account number                    6146

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Research Medical Center                                       Line 4.34 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 ATTN: Bankruptcy/Patient Accounts                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 2316 E Meyer Blvd
 Kansas City, MO 64132
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Research Neuroscience Institute LLC                           Line 4.35 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 6420 Prospect Avenue                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
 Kansas City, MO 64132-4147
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Research Neuroscience Institute LLC                           Line 4.36 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 6420 Prospect Avenue                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
 Kansas City, MO 64132-4147
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 RSH & Associates, LLC                                         Line 4.41 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 14515                                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Lenexa, KS 66285-4515
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Saint Luke's Health System                                    Line 4.37 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 ATTN: Patient Accounts                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 4401 Wornall Road
 Kansas City, MO 64111
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Saint Luke's Physician Billing Svcs.                          Line 4.38 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 4401 Wornall Road                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Kansas City, MO 64111
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?

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 Saint Luke's Physician Billing Svcs.                          Line 4.39 of (Check one):                  Part 1: Creditors with Priority Unsecured Claims
 4401 Wornall Road                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 Kansas City, MO 64111
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 State Collection Service Inc.                                 Line 4.39 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 2509 S Stoughton Road                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
 Madison, WI 53716
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 SYNCB/Amazon                                                  Line 4.31 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 965013                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Orlando, FL 32896-5013
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 SYNCB/Amazon                                                  Line 4.31 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 965036                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Orlando, FL 32896-5036
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 SYNCB/Amazon                                                  Line 4.31 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 965015                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Orlando, FL 32896-5015
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 SYNCB/Drive Savvy                                             Line 4.42 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 965004                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Orlando, FL 32896-5004
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 SYNCB/Drive Savvy                                             Line 4.42 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 965036                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Orlando, FL 32896-5036
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 SYNCB/Drive Savvy                                             Line 4.42 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 965005                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Orlando, FL 32896-5005
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 SYNCB/jcp                                                     Line 4.25 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 965009                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Orlando, FL 32896-5009
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 SYNCB/JCP                                                     Line 4.25 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 965036                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Orlando, FL 32896-5036
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 SYNCB/jcp                                                     Line 4.25 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 965007                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Orlando, FL 32896-5007
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 SYNCB/Lowe's                                                  Line 4.43 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 965004                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Orlando, FL 32896-5004
                                                               Last 4 digits of account number


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 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 SYNCB/Lowe's                                                  Line 4.43 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 965005                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Orlando, FL 32896-5005
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 SYNCB/PayPal                                                  Line 4.32 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 965004                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Orlando, FL 32896-5004
                                                               Last 4 digits of account number                  3706

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 SYNCB/PayPal                                                  Line 4.32 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 965005                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Orlando, FL 32896-5005
                                                               Last 4 digits of account number                  3706

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 SYNCB/Phillips 66                                             Line 4.44 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 965004                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Orlando, FL 32896-5004
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 SYNCB/Phillips 66                                             Line 4.44 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 965005                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Orlando, FL 32896-5005
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 SYNCB/Walmart                                                 Line 4.26 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 965024                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Orlando, FL 32896-5024
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 SYNCB/Walmart                                                 Line 4.26 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 965022                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Orlando, FL 32896-5022
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 SYNCB/Walmart                                                 Line 4.26 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 965036                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Orlando, FL 32896-5036
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Synchrony Bank/Amazon                                         Line 4.31 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Attn: Bankruptcy Department                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 965060
 Orlando, FL 32896-5060
                                                               Last 4 digits of account number                  2033

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Synchrony Bank/Dirve Savvy                                    Line 4.42 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 4125 Windward Plaza Drive                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
 Alpharetta, GA 30005
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Synchrony Bank/JCP                                            Line 4.25 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 4125 Windward Plaza Drive                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
 Alpharetta, GA 30005
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Synchrony Bank/JCPenney                                       Line 4.25 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims

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 Attn: Bankruptcy Department                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 965060
 Orlando, FL 32896-5060
                                                               Last 4 digits of account number                  1531

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Synchrony Bank/Lowe's                                         Line 4.43 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 4125 Windward Plaza Drive                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
 Alpharetta, GA 30005
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Synchrony Bank/PayPal                                         Line 4.32 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Attn: Bankruptcy Department                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 965064
 Orlando, FL 32896-5064
                                                               Last 4 digits of account number                  3706

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Synchrony Bank/PayPal                                         Line 4.32 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Attn: Bankruptcy Department                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 965060
 Orlando, FL 32896-5060
                                                               Last 4 digits of account number                  3706

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Synchrony Bank/Phillips 66                                    Line 4.44 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 4125 Windward Plaza Drive                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
 Alpharetta, GA 30005
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Synchrony Bank/Phillips 66                                    Line 4.44 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 981400                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 El Paso, TX 79998
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Synchrony Bank/Walmart                                        Line 4.26 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Attn: Bankruptcy Department                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 965060
 Orlando, FL 32896-5060
                                                               Last 4 digits of account number                  3432

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Synchrony Bank/Walmart                                        Line 4.26 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 4125 Windward Plaza Drive                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
 Alpharetta, GA 30005
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Synchrony BankAmazon                                          Line 4.31 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 4125 Windward Plaza Drive                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
 Alpharetta, GA 30005
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Synchrony BankPayPal                                          Line 4.32 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 4125 Windward Plaza Drive                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
 Alpharetta, GA 30005
                                                               Last 4 digits of account number                  3706

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Target Credit Services                                        Line 4.45 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 TD Bank USA, NA                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 1581
 Minneapolis, MN 55440-1581
                                                               Last 4 digits of account number


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 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Target National Bank                                          Line 4.45 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 3901 West 53rd Street                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
 Sioux Falls, SD 57106-4216
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 TD Bank USA/Target Credit                                     Line 4.45 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 1470                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 NCD-0450
 Minneapolis, MN 55440
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 TD Bank USA/Target Credit                                     Line 4.45 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 7000 Target Parkway N                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
 Mail Stop NCD-0450
 Brooklyn Park, MN 55445-4301
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 US Attorney General's Office                                  Line 2.1 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 Tax Division - US Dept of Justice                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 7238
 Ben Franklin Station
 Washington, DC 20044
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 US Attorney's Office                                          Line 2.1 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 Robert J. Dole US Courthouse                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 360
 500 State Avenue
 Kansas City, KS 66101
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 USAA Federal Savings Bank                                     Line 4.48 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 65020                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 San Antonio, TX 78265-5020
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 USAA Federal Savings Bank                                     Line 4.49 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 65020                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 San Antonio, TX 78265-5020
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 USAA Savings Bank                                             Line 4.48 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 33009                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 San Antonio, TX 78265-3009
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 USAA Savings Bank                                             Line 4.49 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 33009                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 San Antonio, TX 78265-3009
                                                               Last 4 digits of account number


 Part 4:      Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                           0.00
        Total
      claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                          6b.       $                     1,700.00
                        6c.   Claims for death or personal injury while you were intoxicated                6c.       $

Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 29 of 30
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                                       Case 19-21664                   Doc# 1           Filed 08/07/19                Page 45 of 92
 Debtor 1 John Frank Miramontes, III                                                                    Case number (if known)

                                                                                                                                         0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.     6d.      $                     0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                    6e.      $                 1,700.00

                                                                                                                           Total Claim
                        6f.   Student loans                                                               6f.      $                     0.00
        Total
      claims
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                       6g.      $                     0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts           6h.      $                     0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount        6i.
                              here.                                                                                $                69,095.88

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                 6j.      $                69,095.88




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 30 of 30
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                                       Case 19-21664                     Doc# 1        Filed 08/07/19              Page 46 of 92
 Fill in this information to identify your case:

 Debtor 1                  John Frank Miramontes, III
                           First Name                         Middle Name                Last Name

 Debtor 2
 (Spouse if, filing)       First Name                         Middle Name                Last Name


 United States Bankruptcy Court for the:               DISTRICT OF KANSAS

 Case number
 (if known)                                                                                                                             Check if this is an
                                                                                                                                        amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                     12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.      Do you have any executory contracts or unexpired leases?
              No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
              Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.      List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
        example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
        and unexpired leases.


         Person or company with whom you have the contract or lease                        State what the contract or lease is for
                           Name, Number, Street, City, State and ZIP Code
  2.1
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.2
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.3
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.4
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.5
           Name


           Number        Street

           City                                     State                   ZIP Code




Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                                 Page 1 of 1
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                                         Case 19-21664                      Doc# 1     Filed 08/07/19        Page 47 of 92
 Fill in this information to identify your case:

 Debtor 1                   John Frank Miramontes, III
                            First Name                            Middle Name                Last Name

 Debtor 2
 (Spouse if, filing)        First Name                            Middle Name                Last Name


 United States Bankruptcy Court for the:                 DISTRICT OF KANSAS

 Case number
 (if known)                                                                                                                            Check if this is an
                                                                                                                                       amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                             12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

           No
           Yes

       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                                      Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                               Check all schedules that apply:

    3.1                                                                                                        Schedule D, line
                Name
                                                                                                               Schedule E/F, line
                                                                                                               Schedule G, line
                Number             Street
                City                                      State                               ZIP Code




    3.2                                                                                                        Schedule D, line
                Name
                                                                                                               Schedule E/F, line
                                                                                                               Schedule G, line
                Number             Street
                City                                      State                               ZIP Code




Official Form 106H                                                                       Schedule H: Your Codebtors                                 Page 1 of 1
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy

                                            Case 19-21664                       Doc# 1     Filed 08/07/19      Page 48 of 92
Fill in this information to identify your case:

Debtor 1                      John Frank Miramontes, III

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       DISTRICT OF KANSAS

Case number                                                                                             Check if this is:
(If known)
                                                                                                           An amended filing
                                                                                                           A supplement showing postpetition chapter
                                                                                                           13 income as of the following date:

Official Form 106I                                                                                         MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                   Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                   Employed
       attach a separate page with           Employment status
                                                                      Not employed                               Not employed
       information about additional
       employers.
                                             Occupation            Driver
       Include part-time, seasonal, or
       self-employed work.                   Employer's name       Primetime Transportation*

       Occupation may include student        Employer's address
       or homemaker, if it applies.


                                             How long employed there?         Since 2017

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                      For Debtor 1       For Debtor 2 or
                                                                                                                         non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.    $             0.00     $               N/A

3.     Estimate and list monthly overtime pay.                                              3.   +$             0.00     +$              N/A

4.     Calculate gross Income. Add line 2 + line 3.                                         4.    $          0.00            $        N/A




Official Form 106I                                                      Schedule I: Your Income                                                 page 1
                                     Case 19-21664          Doc# 1          Filed 08/07/19            Page 49 of 92
Debtor 1   John Frank Miramontes, III                                                            Case number (if known)



                                                                                                     For Debtor 1            For Debtor 2 or
                                                                                                                             non-filing spouse
     Copy line 4 here                                                                     4.         $              0.00     $              N/A

5.   List all payroll deductions:
     5a.    Tax, Medicare, and Social Security deductions                                 5a.        $              0.00     $               N/A
     5b.    Mandatory contributions for retirement plans                                  5b.        $              0.00     $               N/A
     5c.    Voluntary contributions for retirement plans                                  5c.        $              0.00     $               N/A
     5d.    Required repayments of retirement fund loans                                  5d.        $              0.00     $               N/A
     5e.    Insurance                                                                     5e.        $              0.00     $               N/A
     5f.    Domestic support obligations                                                  5f.        $              0.00     $               N/A
     5g.    Union dues                                                                    5g.        $              0.00     $               N/A
     5h.    Other deductions. Specify:                                                    5h.+       $              0.00 +   $               N/A
6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $                  0.00     $               N/A
7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $                  0.00     $               N/A
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a business,
            profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                           8a.        $       1,271.53        $               N/A
     8b. Interest and dividends                                                           8b.        $           0.00        $               N/A
     8c. Family support payments that you, a non-filing spouse, or a dependent
            regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                          8c.        $              0.00     $               N/A
     8d. Unemployment compensation                                                        8d.        $              0.00     $               N/A
     8e. Social Security                                                                  8e.        $              0.00     $               N/A
     8f.    Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                      8f.  $                 0.00   $                    N/A
     8g. Pension or retirement income                                                     8g. $                  0.00   $                    N/A
     8h. Other monthly income. Specify: Real estate mamagement fee                        8h.+ $                88.00 + $                    N/A

9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $           1,359.53        $               N/A

10. Calculate monthly income. Add line 7 + line 9.                                    10. $               1,359.53 + $             N/A = $         1,359.53
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                   0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                        12.   $         1,359.53
                                                                                                                                         Combined
                                                                                                                                         monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain: * Debtor is a 1099 contractor for this entity. Debtor is paid monthly for his fares and reimbursed for his fuel
                             expenses. His average gross receipts are $1,975.22 per month and his average fuel expense is $692.02
                             per month and his average client entertainment expense is $11.67 per month.




Official Form 106I                                                     Schedule I: Your Income                                                      page 2
                               Case 19-21664               Doc# 1        Filed 08/07/19                  Page 50 of 92
Fill in this information to identify your case:

Debtor 1                 John Frank Miramontes, III                                                         Check if this is:
                                                                                                                An amended filing
Debtor 2                                                                                                        A supplement showing postpetition chapter
(Spouse, if filing)                                                                                             13 expenses as of the following date:

United States Bankruptcy Court for the:   DISTRICT OF KANSAS                                                          MM / DD / YYYY

Case number
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.   Fill out this information for    Dependent’s relationship to          Dependent’s    Does dependent
      Debtor 2.                                    each dependent..............     Debtor 1 or Debtor 2                 age            live with you?

      Do not state the                                                                                                                       No
      dependents names.                                                                                                                      Yes
                                                                                                                                             No
                                                                                                                                             Yes
                                                                                                                                             No
                                                                                                                                             Yes
                                                                                                                                             No
                                                                                                                                             Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                        Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                           4. $                                  0.00

      If not included in line 4:

      4a. Real estate taxes                                                                                4a.    $                                0.00
      4b. Property, homeowner’s, or renter’s insurance                                                     4b.    $                                0.00
      4c. Home maintenance, repair, and upkeep expenses                                                    4c.    $                                0.00
      4d. Homeowner’s association or condominium dues                                                      4d.    $                                0.00
5.    Additional mortgage payments for your residence, such as home equity loans                            5.    $                                0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                            page 1
                                   Case 19-21664                Doc# 1             Filed 08/07/19          Page 51 of 92
Debtor 1     John Frank Miramontes, III                                                                Case number (if known)

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                   0.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                   0.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                   0.00
      6d. Other. Specify: Cell phones                                                        6d. $                                                  96.00
7.    Food and housekeeping supplies                                                           7. $                                                350.00
8.    Childcare and children’s education costs                                                 8. $                                                  0.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                                 75.00
10.   Personal care products and services                                                    10. $                                                  40.00
11.   Medical and dental expenses                                                            11. $                                                  50.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 200.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                  35.00
14.   Charitable contributions and religious donations                                       14. $                                                   5.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                   76.00
      15b. Health insurance                                                                15b. $                                                   96.00
      15c. Vehicle insurance                                                               15c. $                                                   78.00
      15d. Other insurance. Specify: Dental                                                15d. $                                                   32.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify: Personal property taxes & licenses                                            16. $                                                  25.00
      Specify: Taxes not withheld from 1099 income                                                $                                                150.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                    0.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                    0.00
      17c. Other. Specify: Nondischargeable taxes                                          17c. $                                                   50.00
      17d. Other. Specify:                                                                 17d. $                                                    0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                    0.00
      20b. Real estate taxes                                                               20b. $                                                    0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                    0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                    0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                    0.00
21.   Other: Specify:    Misc. (bank fees, postage, gifts, prof. fees, parking, etc.)        21. +$                                                 50.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                       1,408.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                       1,408.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               1,359.53
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              1,408.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                                 -48.47

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here: Debtor's lives with his son (in his son's house) who is out of town on business more than 60% of the
                          year. Debtor does not pay rent, utilities, etc.




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
                                 Case 19-21664                 Doc# 1           Filed 08/07/19              Page 52 of 92
 Fill in this information to identify your case:

 Debtor 1                   John Frank Miramontes, III
                            First Name                           Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  DISTRICT OF KANSAS

 Case number
 (if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                  amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                 Your assets
                                                                                                                                                                 Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $                      0.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $                2,792.00

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $                2,792.00

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $                   235.00

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $                1,700.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $              69,095.88


                                                                                                                                     Your total liabilities $                71,030.88


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................             $                1,359.53

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $                1,408.00

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

                Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
                the court with your other schedules.
 Official Form 106Sum                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                    page 1 of 2
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                                           Case 19-21664                       Doc# 1            Filed 08/07/19                    Page 53 of 92
 Debtor 1      John Frank Miramontes, III                                                 Case number (if known)

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                              $       1,359.53


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $                  0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $              1,700.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                  0.00

       9d. Student loans. (Copy line 6f.)                                                                 $                  0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $                  0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                  0.00


       9g. Total. Add lines 9a through 9f.                                                           $                 1,700.00




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                   page 2 of 2
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                                       Case 19-21664                 Doc# 1    Filed 08/07/19            Page 54 of 92
 Fill in this information to identify your case:

 Debtor 1                    John Frank Miramontes, III
                             First Name                     Middle Name              Last Name

 Debtor 2
 (Spouse if, filing)         First Name                     Middle Name              Last Name


 United States Bankruptcy Court for the:              DISTRICT OF KANSAS

 Case number
 (if known)                                                                                                                            Check if this is an
                                                                                                                                       amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                           12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                No

                Yes. Name of person                                                                              Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                 Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ John Frank Miramontes, III                                             X
              John Frank Miramontes, III                                                 Signature of Debtor 2
              Signature of Debtor 1

              Date       August 7, 2019                                                  Date




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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                                          Case 19-21664                   Doc# 1   Filed 08/07/19         Page 55 of 92
 Fill in this information to identify your case:

 Debtor 1                 John Frank Miramontes, III
                          First Name                        Middle Name                  Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name                  Last Name


 United States Bankruptcy Court for the:              DISTRICT OF KANSAS

 Case number
 (if known)                                                                                                                       Check if this is an
                                                                                                                                  amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                     4/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

               Married
               Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

               No
               Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                  Dates Debtor 1             Debtor 2 Prior Address:                   Dates Debtor 2
                                                                 lived there                                                          lived there
        Current                                                  From-To:                      Same as Debtor 1                          Same as Debtor 1
                                                                 Since 1/19                                                           From-To:



        6945 E 93rd Street                                       From-To:                      Same as Debtor 1                          Same as Debtor 1
        Kansas City, MO 64138                                    1/2018 - 1/2019                                                      From-To:



        9210 Corrington                                          From-To:                      Same as Debtor 1                          Same as Debtor 1
        Kansas City, MO 64138                                    6/2009 - 12/2017                                                     From-To:




3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

               No
               Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                             page 1
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                                       Case 19-21664                      Doc# 1      Filed 08/07/19              Page 56 of 92
 Debtor 1      John Frank Miramontes, III                                                                  Case number (if known)



 Part 2       Explain the Sources of Your Income

4.    Did you have any income from employment or from operating a business during this year or the two previous calendar years?
      Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
      If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

            No
            Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income         Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.     (before deductions
                                                                                    exclusions)                                              and exclusions)

 From January 1 of current year until                Wages, commissions,                        $12,563.32           Wages, commissions,
 the date you filed for bankruptcy:                bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


 For last calendar year:                             Wages, commissions,                        $26,273.62           Wages, commissions,
 (January 1 to December 31, 2018 )                 bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


 For the calendar year before that:                  Wages, commissions,                        $28,945.00           Wages, commissions,
 (January 1 to December 31, 2017 )                 bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

            No
            Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income from              Sources of income         Gross income
                                                   Describe below.                  each source                    Describe below.           (before deductions
                                                                                    (before deductions and                                   and exclusions)
                                                                                    exclusions)

 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
           No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                 individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?
                          No.      Go to line 7.
                          Yes    List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 2
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                                        Case 19-21664                 Doc# 1          Filed 08/07/19             Page 57 of 92
 Debtor 1      John Frank Miramontes, III                                                                  Case number (if known)




            Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                          No.      Go to line 7.
                          Yes      List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.


       Creditor's Name and Address                               Dates of payment            Total amount          Amount you        Was this payment for ...
                                                                                                     paid            still owe

7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
      of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
      a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
      alimony.

            No
            Yes. List all payments to an insider.
       Insider's Name and Address                                Dates of payment            Total amount          Amount you        Reason for this payment
                                                                                                     paid            still owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

            No
            Yes. List all payments to an insider
       Insider's Name and Address                                Dates of payment            Total amount          Amount you        Reason for this payment
                                                                                                     paid            still owe       Include creditor's name

 Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

            No
            Yes. Fill in the details.
       Case title                                                Nature of the case         Court or agency                          Status of the case
       Case number
       Bank of America NA vs John F                              Civil                      District Court of Johnson                   Pending
       Miramontes                                                                           County, KS                                  On appeal
       19LA04207                                                                            Civil Court Department
                                                                                                                                        Concluded



10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

            No. Go to line 11.
            Yes. Fill in the information below.
       Creditor Name and Address                                 Describe the Property                                        Date                        Value of the
                                                                                                                                                             property
                                                                 Explain what happened




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 3
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 Debtor 1      John Frank Miramontes, III                                                                  Case number (if known)



11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
            No
            Yes. Fill in the details.
       Creditor Name and Address                                 Describe the action the creditor took                        Date action was             Amount
                                                                                                                              taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

            No
            Yes

 Part 5:      List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
            No
            Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                    Describe the gifts                                       Dates you gave                 Value
       per person                                                                                                             the gifts

       Person to Whom You Gave the Gift and
       Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
            No
            Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                Describe what you contributed                            Dates you                      Value
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)

 Part 6:      List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

            No
            Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your      Value of property
       how the loss occurred                                                                                                  loss                           lost
                                                            Include the amount that insurance has paid. List pending
                                                            insurance claims on line 33 of Schedule A/B: Property.

 Part 7:      List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment             Amount of
       Address                                                       transferred                                              or transfer was           payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You
       The Law Offices of Tracy L. Robinson, LC                      See Rule 2016(b) Statement                                                              $0.00
       818 Grand Blvd., Suite 505
       Kansas City, MO 64106




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 4
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 Debtor 1      John Frank Miramontes, III                                                                  Case number (if known)



       Person Who Was Paid                                           Description and value of any property                    Date payment               Amount of
       Address                                                       transferred                                              or transfer was             payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You
       Access Counseling, Inc                                        pre-filing credit counseling                             7/4/2019                      $14.95
       633 W 5th Street
       Suite 26001
       Los Angeles, CA 90071


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment               Amount of
       Address                                                       transferred                                              or transfer was             payment
                                                                                                                              made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
         No
            Yes. Fill in the details.
       Person Who Received Transfer                                  Description and value of                   Describe any property or        Date transfer was
       Address                                                       property transferred                       payments received or debts      made
                                                                                                                paid in exchange
       Person's relationship to you
       Unknown                                                       1967 Pontiac Firebird                      $750.00                         5/5/18


       None

       Unknown                                                       1992 Yamaha Wave Runner                    $100.00                         6/6/2019


       None

       Unknown                                                       2000 BMMF Trailer                          $300.00                         10/15/2018


       None

       Unknown                                                       1996 CM Trailer                            $300.00                         10/15/2018


       None

       Unknown                                                       1995 Chevrolet C2500                       $500.00                         12/20/2018


       None

       Unknown                                                       1994 Ford Ranger                           $1,250.00                       2/1/2018


       None




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 5
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 Debtor 1      John Frank Miramontes, III                                                                   Case number (if known)



19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
            No
            Yes. Fill in the details.
       Name of trust                                                 Description and value of the property transferred                     Date Transfer was
                                                                                                                                           made

 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
            No
            Yes. Fill in the details.
       Name of Financial Institution and                         Last 4 digits of             Type of account or        Date account was        Last balance
       Address (Number, Street, City, State and ZIP              account number               instrument                closed, sold,       before closing or
       Code)                                                                                                            moved, or                    transfer
                                                                                                                        transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

            No
            Yes. Fill in the details.
       Name of Financial Institution                                 Who else had access to it?             Describe the contents            Do you still
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City,                                          have it?
                                                                     State and ZIP Code)


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

            No
            Yes. Fill in the details.
       Name of Storage Facility                                      Who else has or had access             Describe the contents            Do you still
       Address (Number, Street, City, State and ZIP Code)            to it?                                                                  have it?
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

 Part 9:       Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

            No
            Yes. Fill in the details.
       Owner's Name                                                  Where is the property?                 Describe the property                        Value
       Address (Number, Street, City, State and ZIP Code)            (Number, Street, City, State and ZIP
                                                                     Code)

 Part 10:      Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                 page 6
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                                        Case 19-21664                 Doc# 1            Filed 08/07/19             Page 61 of 92
 Debtor 1      John Frank Miramontes, III                                                                       Case number (if known)



24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No
            Yes. Fill in the details.
       Case Title                                                    Court or agency                            Nature of the case                   Status of the
       Case Number                                                   Name                                                                            case
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

                A member of a limited liability company (LLC) or limited liability partnership (LLP)

                A partner in a partnership

                An officer, director, or managing executive of a corporation

                An owner of at least 5% of the voting or equity securities of a corporation

            No. None of the above applies. Go to Part 12.
            Yes. Check all that apply above and fill in the details below for each business.
       Business Name                                             Describe the nature of the business                 Employer Identification number
       Address                                                                                                       Do not include Social Security number or ITIN.
       (Number, Street, City, State and ZIP Code)                Name of accountant or bookkeeper
                                                                                                                     Dates business existed

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

            No
            Yes. Fill in the details below.
       Name                                                      Date Issued
       Address
       (Number, Street, City, State and ZIP Code)




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 7
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                                       Case 19-21664                  Doc# 1           Filed 08/07/19                Page 62 of 92
 Debtor 1      John Frank Miramontes, III                                                                  Case number (if known)




 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ John Frank Miramontes, III
 John Frank Miramontes, III                                              Signature of Debtor 2
 Signature of Debtor 1

 Date     August 7, 2019                                                 Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person                 . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 8
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                                       Case 19-21664                  Doc# 1          Filed 08/07/19             Page 63 of 92
 Fill in this information to identify your case:

 Debtor 1                  John Frank Miramontes, III
                           First Name                       Middle Name                Last Name

 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name                Last Name


 United States Bankruptcy Court for the:              DISTRICT OF KANSAS

 Case number
 (if known)                                                                                                                         Check if this is an
                                                                                                                                    amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                       12/15


If you are an individual filing under chapter 7, you must fill out this form if:
    creditors have claims secured by your property, or
  you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?



    Creditor's         Nebraska Furniture Mart                                Surrender the property.                              No
    name:                                                                     Retain the property and redeem it.
                                                                              Retain the property and enter into a                 Yes
    Description of        Recliner                                            Reaffirmation Agreement.
    property                                                                  Retain the property and [explain]:
    securing debt:

 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                       Will the lease be assumed?

 Lessor's name:                                                                                                              No
 Description of leased
 Property:                                                                                                                   Yes

 Lessor's name:                                                                                                              No
 Description of leased
 Property:                                                                                                                   Yes

 Lessor's name:                                                                                                              No

Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                     page 1

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 Debtor 1      John Frank Miramontes, III                                                            Case number (if known)


 Description of leased
 Property:                                                                                                                    Yes

 Lessor's name:                                                                                                               No
 Description of leased
 Property:                                                                                                                    Yes

 Lessor's name:                                                                                                               No
 Description of leased
 Property:                                                                                                                    Yes

 Lessor's name:                                                                                                               No
 Description of leased
 Property:                                                                                                                    Yes

 Lessor's name:                                                                                                               No
 Description of leased
 Property:                                                                                                                    Yes




Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                          page 2

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 Debtor 1      John Frank Miramontes, III                                                            Case number (if known)




 Part 3:      Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 X     /s/ John Frank Miramontes, III                                               X
       John Frank Miramontes, III                                                       Signature of Debtor 2
       Signature of Debtor 1

       Date        August 7, 2019                                                   Date




Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                     page 3

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                                       Case 19-21664                 Doc# 1       Filed 08/07/19          Page 66 of 92
 Fill in this information to identify your case:                                                   Check one box only as directed in this form and in Form
                                                                                                   122A-1Supp:
 Debtor 1              John Frank Miramontes, III
 Debtor 2                                                                                                  1. There is no presumption of abuse
 (Spouse, if filing)

 United States Bankruptcy Court for the:            District of Kansas                                     2. The calculation to determine if a presumption of abuse
                                                                                                               applies will be made under Chapter 7 Means Test
                                                                                                               Calculation (Official Form 122A-2).
 Case number
 (if known)
                                                                                                           3. The Means Test does not apply now because of
                                                                                                               qualified military service but it could apply later.
                                                                                                           Check if this is an amended filing
Official Form 122A - 1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                    12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed,
attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and
case number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of
qualifying military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

 Part 1:           Calculate Your Current Monthly Income

  1. What is your marital and filing status? Check one only.
              Not married. Fill out Column A, lines 2-11.
              Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
              Married and your spouse is NOT filing with you. You and your spouse are:
                 Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
                 Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
                 penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are
                 living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C § 707(b)(7)(B).
    Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
    101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during
    the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both
    spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                       Column A                   Column B
                                                                                                       Debtor 1                   Debtor 2 or
                                                                                                                                  non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
     payroll deductions).                                                               $                               0.00      $
  3. Alimony     and maintenance   payments.   Do not include payments from a spouse if
     Column B is filled in.                                                             $                               0.00      $
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Include regular contributions from a spouse only if Column B is not
     filled in. Do not include payments you listed on line 3.                           $                               0.00      $
  5. Net income from operating a business, profession, or farm
                                                                        Debtor 1
        Gross receipts (before all deductions)                       $              2,063.22
        Ordinary and necessary operating expenses                    -$               703.69
        Net monthly income from a business,                                                    Copy
        profession, or farm                                          $              1,359.53 here -> $            1,359.53        $
  6. Net income from rental and other real property
                                                                                    Debtor 1
        Gross receipts (before all deductions)                              $      0.00
        Ordinary and necessary operating expenses                           -$     0.00
        Net monthly income from rental or other real property               $      0.00 Copy here -> $                  0.00      $
                                                                                                       $                0.00      $
  7. Interest, dividends, and royalties




Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                     page 1
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 Debtor 1     John Frank Miramontes, III                                                               Case number (if known)



                                                                                                   Column A                     Column B
                                                                                                   Debtor 1                     Debtor 2 or
                                                                                                                                non-filing spouse
  8. Unemployment compensation                                                                     $                  0.00      $
       Do not enter the amount if you contend that the amount received was a benefit under
       the Social Security Act. Instead, list it here:
          For you                                          $                    0.00
            For your spouse                                          $
  9. Pension or retirement income. Do not include any amount received that was a
      benefit under the Social Security Act.                                                       $                  0.00      $
  10. Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act or payments
      received as a victim of a war crime, a crime against humanity, or international or
      domestic terrorism. If necessary, list other sources on a separate page and put the
      total below.
             .                                                                                     $                  0.00      $
                                                                                                   $                  0.00      $
                  Total amounts from separate pages, if any.                                  +    $                  0.00      $

  11. Calculate your total current monthly income. Add lines 2 through 10 for
      each column. Then add the total for Column A to the total for Column B.             $       1,359.53          +   $                   =   $      1,359.53

                                                                                                                                                Total current monthly
                                                                                                                                                income

 Part 2:        Determine Whether the Means Test Applies to You

  12. Calculate your current monthly income for the year. Follow these steps:
       12a. Copy your total current monthly income from line 11                                              Copy line 11 here=>            $          1,359.53

              Multiply by 12 (the number of months in a year)                                                                                       x 12
       12b. The result is your annual income for this part of the form                                                                12b. $          16,314.36

  13. Calculate the median family income that applies to you. Follow these steps:

       Fill in the state in which you live.                                  KS

       Fill in the number of people in your household.                        1
       Fill in the median family income for your state and size of household.                                                         13.   $         50,416.00
       To find a list of applicable median income amounts, go online using the link specified in the separate instructions
       for this form. This list may also be available at the bankruptcy clerk’s office.
  14. How do the lines compare?
       14a.           Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                      Go to Part 3.
       14b.           Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                      Go to Part 3 and fill out Form 122A-2.
 Part 3:        Sign Below
              By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

             X /s/ John Frank Miramontes, III
                John Frank Miramontes, III
                Signature of Debtor 1
        Date August 7, 2019
             MM / DD / YYYY
              If you checked line 14a, do NOT fill out or file Form 122A-2.
              If you checked line 14b, fill out Form 122A-2 and file it with this form.




Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                   page 2
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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                        District of Kansas
 In re       John Frank Miramontes, III                                                                       Case No.
                                                                               Debtor(s)                      Chapter       7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                     1,000.00
             Prior to the filing of this statement I have received                                        $                     1,000.00
             Balance Due                                                                                  $                         0.00

2.     $    335.00        of the filing fee has been paid.

3.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

4.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]


7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               (a) Representation of the Debtor(s) in any adversary proceeding(s) to determine the dischargeability of debt(s), to revoke
               the discharge, etc.

                  (b) Filing any motion to reopen the case that is necessitated by the Debtor(s) failure to timely provide information or
                  comply with the applicable law or rules..
                                                                        CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     August 7, 2019                                                            /s/ Tracy L. Robinson
     Date                                                                      Tracy L. Robinson
                                                                               Signature of Attorney
                                                                               The Law Offices of Tracy L. Robinson, LC
                                                                               818 Grand Blvd., Suite 505
                                                                               Kansas City, MO 64106
                                                                               816.842.1317 Fax: 816.842.0315
                                                                               admin@tlrlaw.com
                                                                               Name of law firm




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b
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C
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i
t
o
A
s
M
a
x




    Alltran Financial, LP
    Acct No xxxx3891
    PO Box 722929
    Houston TX 77272-2929


    American Coradius
    Acct No xxxx2591
    2420 Sweet Home Road-Suite 150
    Amherst NY 14228-2244


    American Express
    Acct No x1000
    Customer Service/Bankruptcy Dept.
    PO Box 981535
    El Paso TX 79998-1535


    American Express
    Acct No x1005
    Customer Service/Bankruptcy Dept.
    PO Box 981535
    El Paso TX 79998-1535


    American Express
    Acct No x1001
    Customer Service/Bankruptcy Dept.
    PO Box 981535
    El Paso TX 79998-1535


    American Express
    Acct No x1000
    PO Box 981537
    El Paso TX 79998


    American Express
    Acct No x1005
    PO Box 981537
    El Paso TX 79998


    American Express
    Acct No x1001
    PO Box 981537
    El Paso TX 79998


    Anesthesia Assoc of KC PC
    Acct No xxxx6774
    PO Box 801185
    Kansas City MO 64180

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Anesthesia Assoc of KC PC
PO Box 801185
Kansas City MO 64180


Anesthesia Assoc of KC PC
Acct No xxxx6774
8717 W 110th Street
Suite 600
Overland Park KS 66210-2126


Anesthesia Assoc of KC PC
8717 W 110th Street
Suite 600
Overland Park KS 66210-2126


Atlantic Credit & Finance, Inc
Acct No xxxxxx8547
2727 Franklin Road
Roanoke VA 24014


Atlantic Credit and Finance Inc
Acct No xxx8353
PO Box 13386
Roanoke VA 24033


Austin Farms Sodding, Inc
Acct No x7205
1120 SE Century Drive
Lees Summit MO 64081


Bank of America
Acct No xxxx xxxx xxxx 3070
PO Box 982234
El Paso TX 79998-2234


Bank of America
Acct No xxxx xxxx xxxx 3070
PO Box 982235
El Paso TX 79998-2235


Bank of America
Acct No xxxx xxxx xxxx 3070
PO Box 982236
El Paso TX 79998-2236




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Bank of America
Acct No xxxx xxxx xxxx 3070
PO Box 982238
El Paso TX 79998-2238


Bank of America
Acct No xxxx xxxx xxxx 3070
4060 Ogletown/Stanton Road
DE5-019-03-07
Newark DE 19713


Bank of America - Bankruptcy
Acct No xxxx xxxx xxxx 3070
NC4-105-03-14
4161 Piedmont Parkway
Greensboro NC 27420


Barclays Bank of Delaware
Bankruptcy Department
125 South West Street
Wilmington DE 19801


Barclays Bank of Delaware
PO Box 8802
Wilmington DE 19899-8802


Barclays Bank of Delaware
PO Box 8803
Wilmington DE 19899-8803


Berlin-Wheeler Inc
Acct No xxxx6774
2942 SW Wanamaker Drive
Suite 200
Topeka KS 66614


Berlin-Wheeler Inc
Acct No xxxxx1621
2942 SW Wanamaker Drive
Suite 200
Topeka KS 66614


Berlin-Wheeler Inc
Acct No xxxxx0173
2942 SW Wanamaker Drive
Suite 200
Topeka KS 66614

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Berlin-Wheeler Inc
2942 SW Wanamaker Drive
Suite 200
Topeka KS 66614


Berlin-Wheeler Inc.
Acct No xxxx6774
PO Box 479
Topeka KS 66601-0479


Berlin-Wheeler Inc.
PO Box 479
Topeka KS 66601-0479


Blitt & Gaines PC
Acct No xxxx xxxx xxxx 3070
707 North Second Street
Suite 306
Saint Louis MO 63102


Blitt & Gaines PC
Acct No xxxx xxxx xxxx 3070
661 Glenn Avenue
Wheeling IL 60090


Blitt & Gaines PC
Acct No xxxx2481
661 Glenn Avenue
Wheeling IL 60090


Blitt & Gaines PC
Acct No xxxx xxxx xxxx 4630
707 North Second Street
Suite 306
Saint Louis MO 63102


Blitt and Gaines, PC
Acct No xxxx xxxx xxxx 3070
6804 W 107th Street
Suite 150
Overland Park KS 66212


Capital One
Acct No xxxx xxxx xxxx 4630
Inquiries/Bankruptcy Department
PO Box 30285
Salt Lake City UT 84130-0285

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Capital One
Acct No xxxx xxxx xxxx 4630
PO Box 30281
Salt Lake City UT 84130


Capital One Bank USA NA
Acct No xxxx xxxx xxxx 4630
10700 Capital One Way
Richmond VA 23060


Centerpoint Medical Center
Acct No xxxxxxx9438
Patient Accounting
19600 E 39th Street South
Independence MO 64057


Centerpoint Medical Center
Acct No xxxxxxx9438
PO Box 740760
Cincinnati OH 45274-0760


Centerpoint Physicians Group
Acct No xxxxxxx3777
PO Box 740776
Cincinnati OH 45274-0776


Client Services, Inc.
Acct No xxxx2843
3451 Harry S Truman Boulevard
Saint Charles MO 63301-4047


Client Services, Inc.
Acct No xxxx5187
3451 Harry S Truman Boulevard
Saint Charles MO 63301-4047


College Park Family Care Center
Acct No xx8557
PO Box 741331
Atlanta GA 30374-1331


College Park Family Care Center
Acct No xx8557
11725 W 112th Street
Suite 102
Overland Park KS 66210


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D & A Services
Acct No xxx9475
1400 e Touhy Avenue
Suite G2
Des Plaines IL 60018


Discover Card
Acct No xxxx xxxx xxxx 8482
PO Box 15316
Wilmington DE 19850-5316


Discover Cards
Acct No xxxx xxxx xxxx 8482
Inquiries/Bankruptcy Department
PO Box 30943
Salt Lake City UT 84130


Financial Recovery Services Inc
Acct No xxY992
PO Box 385908
Minneapolis MN 55438-5908


Financial Recovery Services Inc
Acct No xxS221
PO Box 385908
Minneapolis MN 55438-5908


Firstsource Advantage, LLC
Acct No xxxx3494
205 Bryant Woods South
Amherst NY 14228


Hunter Warfield, Inc.
Acct No xxx3278
4620 Woodland Corporate Blvd
Tampa FL 33614-2415


Internal Revenue Service
Centralized Insolvency Operation
PO Box 7346
Philadelphia PA 19101-7346


Jefferson Capital Systems LLC
16 McLeland Road
Saint Cloud MN 56303-2049



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Kansas City Power & Light
Acct No xxxxxx0970
Collection Department
1201 Walnut
PO Box 418679
Kansas City MO 64141-8679


Kansas City Power & Light
Acct No xxxxxx0970
PO Box 219330
Kansas City MO 64121-9330


Lab Corp of America Holdings
Acct No xxxx9954
PO Box 2240
Burlington NC 27216-2240


Lab Corp of America Holdings
PO Box 2240
Burlington NC 27216-2240


Mandarich Law Group, LLP
Acct No xxx2226
PO Box 109032
Chicago IL 60610


Medica
Acct No xxx6017
PO Box 9310
Minneapolis MN 55440-9310


Medica
Acct No xxx6017
PO Box 856523
Minneapolis MN 55485-6523


Medicredit, Inc
Acct No xxxx4307
PO Box 1629
Maryland Heights MO 63043-0629


Mercury Card/First Bank and Trust/SD
700 22nd Avenue South
Brookings SD 57006




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Mercury Card/First Bank and Trust/SD
2220 6th Street
Brookings SD 57006


Midland Credit Management Inc
Acct No xxxxxx4225
PO Box 13105
Roanoke VA 24031-3105


Midland Credit Management Inc
Acct No xxxxxx8547
PO Box 13105
Roanoke VA 24031-3105


Midland Credit Management, Inc.
Acct No xxxxxx4225
350 Camino De La Reina
Suite 100
San Diego CA 92108


Midland Credit Management, Inc.
Acct No xxxxxx8547
350 Camino De La Reina
Suite 100
San Diego CA 92108


Midland Funding, LLC
Acct No xxxxxx4225
2365 Northside Drive
Suite 300
San Diego CA 92108


Midland Funding, LLC
Acct No xxxxxx8547
2365 Northside Drive
Suite 300
San Diego CA 92108


Midland Funding, LLC
Acct No xxxxxx4225
320 East Big Beaver
Troy MI 48083


Midland Funding, LLC
Acct No xxxxxx8547
320 East Big Beaver
Troy MI 48083

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Midwest Heart & Vascular Specialists
Acct No xxxxxxx3777
PO Box 740776
Cincinnati OH 45274-0776


Midwest Heart & Vascular Specialists
Acct No xxxxxxx3777
2330 E Meyer Blvd
Suite 509
Kansas City MO 64132


Monarch Recovery Holdings
Acct No xxxx0656
3260 Tillman Drive
Suite 75
Bensalem PA 19020-2059


Monarch Recovery Holdings
Acct No xxx xxxx xxx278 0
PO Box 986
Bensalem PA 19020


Namco USA LTD dba Courtyard Apartments
Acct No xxx8149
6720 W 76th Street
Overland Park KS 66204-3041


Nationwide Credit, Inc
Acct No xxxxxxxx3281
PO Box 14581
Des Moines IA 50306-3581


Nationwide Credit, Inc
Acct No xxxxxxx6863
PO Box 14581
Des Moines IA 50306-3581


Nebraska Furniture Mart
Attn: Bankruptcy
PO Box 3000
Omaha NE 68103-3030


Nebraska Furniture Mart
700 S 72nd Street
Omaha NE 68114



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Nebraska Furniture Mart
PO Box 3456
Omaha NE 68103


Northstar Location Services, LLC
Acct No xxxx xxxx xxxx 8482
Attn: Financial Services Department
4285 Genesee Street
Cheektowaga NY 14225-1943


NPAS Solutions, LLC
Acct No xxxx7437
PO Box 2248
Maryland Heights MO 63043-1048


NPAS Solutions, LLC
Acct No xxxxxxx6123
PO Box 2248
Maryland Heights MO 63043-1048


NPAS Solutions, LLC
Acct No xxxxxxx1051
PO Box 2248
Maryland Heights MO 63043-1048


Overland Park Regional Med Center
Acct No xxxxxxx1051
PO Box 740760
Cincinnati OH 45274-0760


Overland Park Regional Med Ctr
Acct No xxxxxxx1051
10500 Quivira Road
Lenexa KS 66215


Portfolio Recovery Associates
120 Corporate Boulevard
Suite 100
Norfolk VA 23502


Portfolio Recovery Associates
Acct No xxxx xxxx xxxx 3706
PO Box 12914
Norfolk VA 23541




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Portfolio Recovery Associates
PO Box 12914
Norfolk VA 23541


Portfolio Recovery Associates
Acct No xxxx xxxx xxxx 3706
120 Corporate Boulevard
Norfolk VA 23502


Prime Healthcare Kansas City
Acct No xx2392
Physician Services
PO Box 872332
Kansas City MO 64187-2332


Radius Global Solutions, LLC
Acct No xxx-xxxx6146
7831 Glenroy Road
SUite 250
Minneapolis MN 55439


Research Medical Center
Acct No xxxxxxx6123
PO Box 740760
Cincinnati OH 45274-0760


Research Medical Center
Acct No xxxxxxx6123
ATTN: Bankruptcy/Patient Accounts
2316 E Meyer Blvd
Kansas City MO 64132


Research Neuroscience Institute LLC
Acct No xxxxxxx3777
PO Box 740776
Cincinnati OH 45274-0776


Research Neuroscience Institute LLC
Acct No xxxxxxx3777
6420 Prospect Avenue
Kansas City MO 64132-4147


RSH & Associates, LLC
Acct No xxx-x9043
PO Box 14515
Lenexa KS 66285-4515


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Saint Luke's Health System
Acct No xxxxxxx6661
PO Box 505327
Saint Louis MO 63150-5327


Saint Luke's Health System
Acct No xxxxxxx6661
ATTN: Patient Accounts
4401 Wornall Road
Kansas City MO 64111


Saint Luke's Physician Billing Svcs.
4401 Wornall Road
Kansas City MO 64111


Saint Luke's Physician Billing Svcs.
Acct No xxxxxx5533
4401 Wornall Road
Kansas City MO 64111


Saint Luke's Physicians Group
PO Box 505291
Saint Louis MO 63150-5291


Saint Luke's Physicians Group
Acct No xxxxxx5533
PO Box 505291
Saint Louis MO 63150-5291


Sci-Tech Automotive
Acct No xxxx-xxxx-xxxx-3351
9955 E 350 Highway
Kansas City MO 64133-6580


State Collection Service Inc.
Acct No xxxxxx5533
2509 S Stoughton Road
Madison WI 53716


Surgicenter of Johnson County
Acct No xxx-x9043
8800 Ballentine
Overland Park KS 66214




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SYNCB/Amazon
PO Box 965013
Orlando FL 32896-5013


SYNCB/Amazon
PO Box 965015
Orlando FL 32896-5015


SYNCB/Amazon
PO Box 965036
Orlando FL 32896-5036


SYNCB/Drive Savvy
Acct No xxxx xxxx xxxx 7248
PO Box 965004
Orlando FL 32896-5004


SYNCB/Drive Savvy
Acct No xxxx xxxx xxxx 7248
PO Box 965005
Orlando FL 32896-5005


SYNCB/Drive Savvy
Acct No xxxx xxxx xxxx 7248
PO Box 965036
Orlando FL 32896-5036


SYNCB/jcp
Acct No xxxxxx4225
PO Box 965009
Orlando FL 32896-5009


SYNCB/jcp
Acct No xxxxxx4225
PO Box 965007
Orlando FL 32896-5007


SYNCB/JCP
Acct No xxxxxx4225
PO Box 965036
Orlando FL 32896-5036


SYNCB/Lowe's
Acct No xxx xxxx xxx278 0
PO Box 965004
Orlando FL 32896-5004

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SYNCB/Lowe's
Acct No xxx xxxx xxx278 0
PO Box 965005
Orlando FL 32896-5005


SYNCB/PayPal
Acct No xxxx xxxx xxxx 3706
PO Box 965004
Orlando FL 32896-5004


SYNCB/PayPal
Acct No xxxx xxxx xxxx 3706
PO Box 965005
Orlando FL 32896-5005


SYNCB/Phillips 66
PO Box 965004
Orlando FL 32896-5004


SYNCB/Phillips 66
PO Box 965005
Orlando FL 32896-5005


SYNCB/Walmart
Acct No xxxxxx8547
PO Box 965024
Orlando FL 32896-5024


SYNCB/Walmart
Acct No xxxxxx8547
PO Box 965036
Orlando FL 32896-5036


SYNCB/Walmart
Acct No xxxxxx8547
PO Box 965022
Orlando FL 32896-5022


Synchrony Bank/Amazon
Acct No xxxx xxxx xxxx 2033
Attn: Bankruptcy Department
PO Box 965060
Orlando FL 32896-5060




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Synchrony Bank/Dirve Savvy
Acct No xxxx xxxx xxxx 7248
4125 Windward Plaza Drive
Alpharetta GA 30005


Synchrony Bank/Drive Savvy
Acct No xxxx xxxx xxxx 7248
Attn: Bankruptcy Department
PO Box 965060
Orlando FL 32896-5060


Synchrony Bank/JCP
Acct No xxxxxx4225
4125 Windward Plaza Drive
Alpharetta GA 30005


Synchrony Bank/JCPenney
Acct No *** *** x15 31
Attn: Bankruptcy Department
PO Box 965060
Orlando FL 32896-5060


Synchrony Bank/Lowe's
Acct No xxx xxxx xxx278 0
Attn: Bankruptcy Department
PO Box 965060
Orlando FL 32896-5060


Synchrony Bank/Lowe's
Acct No xxx xxxx xxx278 0
4125 Windward Plaza Drive
Alpharetta GA 30005


Synchrony Bank/PayPal
Acct No xxxx xxxx xxxx 3706
Attn: Bankruptcy Department
PO Box 965064
Orlando FL 32896-5064


Synchrony Bank/PayPal
Acct No xxxx xxxx xxxx 3706
Attn: Bankruptcy Department
PO Box 965060
Orlando FL 32896-5060




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Synchrony Bank/Phillips 66
Attn: Bankruptcy Department
PO Box 965060
Orlando FL 32896-5060


Synchrony Bank/Phillips 66
4125 Windward Plaza Drive
Alpharetta GA 30005


Synchrony Bank/Phillips 66
PO Box 981400
El Paso TX 79998


Synchrony Bank/Walmart
Acct No xxxx xxxx xxxx 3432
Attn: Bankruptcy Department
PO Box 965060
Orlando FL 32896-5060


Synchrony Bank/Walmart
Acct No xxxxxx8547
4125 Windward Plaza Drive
Alpharetta GA 30005


Synchrony BankAmazon
4125 Windward Plaza Drive
Alpharetta GA 30005


Synchrony BankPayPal
Acct No xxxx xxxx xxxx 3706
4125 Windward Plaza Drive
Alpharetta GA 30005


Target Credit Services
Acct No xxxx xxxx xxxx 6214
TD Bank USA, NA
PO Box 1581
Minneapolis MN 55440-1581


Target National Bank
Acct No xxxx xxxx xxxx 6214
Target Credit Services
MS IC-F
PO Box 673
Minneapolis MN 55440-0673



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Target National Bank
Acct No xxxx xxxx xxxx 6214
3901 West 53rd Street
Sioux Falls SD 57106-4216


TD Bank USA/Target Credit
Acct No xxxx xxxx xxxx 6214
PO Box 1470
NCD-0450
Minneapolis MN 55440


TD Bank USA/Target Credit
Acct No xxxx xxxx xxxx 6214
7000 Target Parkway N
Mail Stop NCD-0450
Brooklyn Park MN 55445-4301


U-Haul Moving & Storage of Lenexa
9250 Marshall Drive
Lenexa KS 66215


Universal Premium
Acct No xN7UE
PO Box 923928
Norcross GA 30010


US Attorney General's Office
Tax Division - US Dept of Justice
PO Box 7238
Ben Franklin Station
Washington DC 20044


US Attorney's Office
Robert J. Dole US Courthouse
Suite 360
500 State Avenue
Kansas City KS 66101


USAA Federal Savings Bank
Acct No xxxx xxxx xxxx 0962
10750 McDermott Freeway
San Antonio TX 78288


USAA Federal Savings Bank
Acct No xxxx xxxx xxxx 3540
10750 McDermott Freeway
San Antonio TX 78288

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USAA Federal Savings Bank
Acct No xxxx xxxx xxxx 0962
PO Box 65020
San Antonio TX 78265-5020


USAA Federal Savings Bank
Acct No xxxx xxxx xxxx 3540
PO Box 65020
San Antonio TX 78265-5020


USAA Savings Bank
Acct No xxxx xxxx xxxx 0962
PO Box 33009
San Antonio TX 78265-3009


USAA Savings Bank
Acct No xxxx xxxx xxxx 3540
PO Box 33009
San Antonio TX 78265-3009




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                                                               United States Bankruptcy Court
                                                                        District of Kansas
 In re      John Frank Miramontes, III                                                                     Case No.
                                                                                 Debtor(s)                 Chapter    7




                                               VERIFICATION OF CREDITOR MATRIX


The above-named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.



 Date: August 7, 2019                                                 /s/ John Frank Miramontes, III
                                                                      John Frank Miramontes, III
                                                                      Signature of Debtor




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Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                          Chapter 7:         Liquidation
 This notice is for you if:
                                                                                                  $245      filing fee
        You are an individual filing for bankruptcy,
        and                                                                                        $75   administrative fee

        Your debts are primarily consumer debts.                                          +        $15   trustee surcharge
        Consumer debts are defined in 11 U.S.C.
        § 101(8) as “incurred by an individual                                                    $335      total fee
        primarily for a personal, family, or
        household purpose.”                                                               Chapter 7 is for individuals who have financial
                                                                                          difficulty preventing them from paying their debts
                                                                                          and who are willing to allow their nonexempt
 The types of bankruptcy that are available to                                            property to be used to pay their creditors. The
 individuals                                                                              primary purpose of filing under chapter 7 is to have
                                                                                          your debts discharged. The bankruptcy discharge
 Individuals who meet the qualifications may file under                                   relieves you after bankruptcy from having to pay
 one of four different chapters of Bankruptcy Code:                                       many of your pre-bankruptcy debts. Exceptions exist
                                                                                          for particular debts, and liens on property may still
        Chapter 7 - Liquidation                                                           be enforced after discharge. For example, a creditor
                                                                                          may have the right to foreclose a home mortgage or
        Chapter 11 - Reorganization                                                       repossess an automobile.

        Chapter 12 - Voluntary repayment plan                                             However, if the court finds that you have committed
                   for family farmers or                                                  certain kinds of improper conduct described in the
                   fishermen                                                              Bankruptcy Code, the court may deny your
                                                                                          discharge.
        Chapter 13 - Voluntary repayment plan
                   for individuals with regular                                           You should know that even if you file chapter 7 and
                   income                                                                 you receive a discharge, some debts are not
                                                                                          discharged under the law. Therefore, you may still
                                                                                          be responsible to pay:
 You should have an attorney review your
 decision to file for bankruptcy and the choice of                                            most taxes;
 chapter.
                                                                                              most student loans;

                                                                                              domestic support and property settlement
                                                                                              obligations;




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        most fines, penalties, forfeitures, and criminal                                  your income is more than the median income for your
        restitution obligations; and                                                      state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
        certain debts that are not listed in your bankruptcy                              administrator, or creditors can file a motion to dismiss
        papers.                                                                           your case under § 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
 You may also be required to pay debts arising from:                                      be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
        fraud or theft;                                                                   Code.

        fraud or defalcation while acting in breach of                                    If you are an individual filing for chapter 7 bankruptcy,
        fiduciary capacity;                                                               the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
        intentional injuries that you inflicted; and                                      of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
        death or personal injury caused by operating a                                    bankruptcy trustee sells or liquidates that you are
        motor vehicle, vessel, or aircraft while intoxicated                              entitled to, is called exempt property. Exemptions may
        from alcohol or drugs.                                                            enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
 If your debts are primarily consumer debts, the court                                    the property is sold.
 can dismiss your chapter 7 case if it finds that you have
 enough income to repay creditors a certain amount.                                       Exemptions are not automatic. To exempt property,
 You must file Chapter 7 Statement of Your Current                                        you must list it on Schedule C: The Property You Claim
 Monthly Income (Official Form 122A–1) if you are an                                      as Exempt (Official Form 106C). If you do not list the
 individual filing for bankruptcy under chapter 7. This                                   property, the trustee may sell it and pay all of the
 form will determine your current monthly income and                                      proceeds to your creditors.
 compare whether your income is more than the median
 income that applies in your state.

 If your income is not above the median for your state,
 you will not have to complete the other chapter 7 form,                                  Chapter 11: Reorganization
 the Chapter 7 Means Test Calculation (Official Form
 122A–2).
                                                                                                      $1,167    filing fee
 If your income is above the median for your state, you
 must file a second form —the Chapter 7 Means Test                                           +           $550    administrative fee
 Calculation (Official Form 122A–2). The calculations on
                                                                                                      $1,717    total fee
 the form— sometimes called the Means Test—deduct
 from your income living expenses and payments on
                                                                                          Chapter 11 is often used for reorganizing a business,
 certain debts to determine any amount available to pay
                                                                                          but is also available to individuals. The provisions of
 unsecured creditors. If
                                                                                          chapter 11 are too complicated to summarize briefly.




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        Read These Important Warnings

             Because bankruptcy can have serious long-term financial and legal consequences, including loss of
             your property, you should hire an attorney and carefully consider all of your options before you file.
             Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
             and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
             properly and protect you, your family, your home, and your possessions.

             Although the law allows you to represent yourself in bankruptcy court, you should understand that
             many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
             or inaction may harm you. If you file without an attorney, you are still responsible for knowing and
             following all of the legal requirements.

             You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
             necessary documents.

             Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
             bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
             fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
             20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                          Under chapter 13, you must file with the court a plan
 Chapter 12: Repayment plan for family                                                    to repay your creditors all or part of the money that
             farmers or fishermen                                                         you owe them, usually using your future earnings. If
                                                                                          the court approves your plan, the court will allow you
                                                                                          to repay your debts, as adjusted by the plan, within 3
                   $200        filing fee                                                 years or 5 years, depending on your income and other
 +                  $75        administrative fee                                         factors.
                   $275        total fee
                                                                                          After you make all the payments under your plan,
 Similar to chapter 13, chapter 12 permits family farmers                                 many of your debts are discharged. The debts that are
 and fishermen to repay their debts over a period of time                                 not discharged and that you may still be responsible to
 using future earnings and to discharge some debts that                                   pay include:
 are not paid.
                                                                                                 domestic support obligations,

                                                                                                 most student loans,
 Chapter 13: Repayment plan for
             individuals with regular                                                            certain taxes,
             income
                                                                                                 debts for fraud or theft,

                   $235        filing fee                                                        debts for fraud or defalcation while acting in a
 +                  $75        administrative fee                                                fiduciary capacity,
                   $310        total fee
                                                                                                 most criminal fines and restitution obligations,
 Chapter 13 is for individuals who have regular income
 and would like to pay all or part of their debts in                                             certain debts that are not listed in your
 installments over a period of time and to discharge                                             bankruptcy papers,
 some debts that are not paid. You are eligible for
 chapter 13 only if your debts are not more than certain                                         certain debts for acts that caused death or
 dollar amounts set forth in 11 U.S.C. § 109.                                                    personal injury, and

                                                                                                 certain long-term secured debts.




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                                                                                          A married couple may file a bankruptcy case
               Warning: File Your Forms on Time                                           together—called a joint case. If you file a joint case and
                                                                                          each spouse lists the same mailing address on the
 Section 521(a)(1) of the Bankruptcy Code requires that                                   bankruptcy petition, the bankruptcy court generally will
 you promptly file detailed information about your                                        mail you and your spouse one copy of each notice,
 creditors, assets, liabilities, income, expenses and                                     unless you file a statement with the court asking that
 general financial condition. The court may dismiss your                                  each spouse receive separate copies.
 bankruptcy case if you do not file this information within
 the deadlines set by the Bankruptcy Code, the                                            Understand which services you could receive from
 Bankruptcy Rules, and the local rules of the court.                                      credit counseling agencies

 For more information about the documents and                                             The law generally requires that you receive a credit
 their deadlines, go to:                                                                  counseling briefing from an approved credit counseling
 http://www.uscourts.gov/bkforms/bankruptcy_form                                          agency. 11 U.S.C. § 109(h). If you are filing a joint
 s.html#procedure.                                                                        case, both spouses must receive the briefing. With
                                                                                          limited exceptions, you must receive it within the 180
                                                                                          days before you file your bankruptcy petition. This
 Bankruptcy crimes have serious consequences                                              briefing is usually conducted by telephone or on the
                                                                                          Internet.
        If you knowingly and fraudulently conceal assets
        or make a false oath or statement under penalty                                   In addition, after filing a bankruptcy case, you generally
        of perjury—either orally or in writing—in                                         must complete a financial management instructional
        connection with a bankruptcy case, you may be                                     course before you can receive a discharge. If you are
        fined, imprisoned, or both.                                                       filing a joint case, both spouses must complete the
                                                                                          course.
        All information you supply in connection with a
        bankruptcy case is subject to examination by the                                  You can obtain the list of agencies approved to provide
        Attorney General acting through the Office of the                                 both the briefing and the instructional course from:
        U.S. Trustee, the Office of the U.S. Attorney, and                                http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html
        other offices and employees of the U.S.                                           .
        Department of Justice.
                                                                                          In Alabama and North Carolina, go to:
 Make sure the court has your mailing address                                             http://www.uscourts.gov/FederalCourts/Bankruptcy/
                                                                                          BankruptcyResources/ApprovedCredit
 The bankruptcy court sends notices to the mailing                                        AndDebtCounselors.aspx.
 address you list on Voluntary Petition for Individuals
 Filing for Bankruptcy (Official Form 101). To ensure                                     If you do not have access to a computer, the clerk of
 that you receive information about your case,                                            the bankruptcy court may be able to help you obtain
 Bankruptcy Rule 4002 requires that you notify the court                                  the list.
 of any changes in your address.




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